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                       Exhibit 2
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1. A power charging    Schneider Electric provides a power charging device (e.g. the Conext XW+ Multi-Unit Power
device using           System) using multiple energy sources (e.g. solar energy, wind energy, geothermal energy, etc.)
multiple energy        supplying a predetermined amount of electrical power (e.g. current/voltage) , wherein the
sources for            multiple energy sources comprise a plurality of power sources (e.g. PV arrays, wind turbines,
supplying a            etc.), each having a different generating capacity and each output value thereof varying
predetermined          independently (inherent in the sources).
amount of electrical
power, wherein the
multiple energy
sources comprise a
plurality of power
sources, each having
a different
generating capacity
and each output
value thereof
varying
independently, the
device comprising:


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                       content/uploads/2016/12/Conext-XW-Multi-Unit-Power-System-Design-Guide-975-0739-01-
                       01_Rev-C_ENG.pdf
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                       content/uploads/2016/12/Conext-XW-Multi-Unit-Power-System-Design-Guide-975-0739-01-
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          01_Rev-C_ENG.pdf
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                       content/uploads/2018/01/ML201711_Conext-XW-230V-Owners-Guide-975-0713-01-01_Rev-
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output changing        Schneider Electric provides output changing means (e.g. inverter/rectifier, Conext XW+) which is
means which is         provided for each of the power sources (e.g the grid feed, PV arrays, wind, etc.) and which
provided for each of   changes the variable output value to a desired output value (e.g. programmed AC input mode,
the power sources      from a range of selectable limits; “inverter can be programmed to provide power above a
and which changes      specified level to avoid the surcharge. When the utility current draw reaches the maximum level,
the variable output    the inverter assists by sourcing power from the batteries to the loads”);
value to a desired
output value; and
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           content/uploads/2016/12/Conext-XW-Multi-Unit-Power-System-Design-Guide-975-0739-01-
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           content/uploads/2019/08/DS20190807_Conext-XW-230-V-Datasheet.pdf




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            Showing adjustable AC current to load as well as DC to AC conversion to load while the power
                                        source is either the AC in or DC in.
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                    Showing adjustable conversion of DC to AC when power source is DC for example from a PV setup
                                                           and or/a battery.




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                    Showing adjustable conversion of DC to AC when power source is DC for example from a PV setup
                          and or/a battery and utilizing this source in lieu of the grid or other AC power source.
charging means      Schneider Electric provides a charging means (e.g. the MPPT Solar Charge Controllers) which
which outputs the   outputs the desired output voltage value to the output changing means (e.g. the
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desired output          inverter/rectifier, Conext XW+) and which supplies the power from the plurality of connected
voltage value to the    power sources (e.g. grid fee, PV arrays, wind, etc).
output changing
means and which
supplies the power
from the plurality of
connected power
sources.




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           01_Rev-C_ENG.pdf




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           D_ENG.pdf




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